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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

                                              *
IN RE: OIL SPILL by the OIL RIG               *      MDL NO. 2179 “J”(1)
       “DEEPWATER HORIZON” in                 *
       the GULF OF MEXICO, on                 *      JUDGE BARBIER
       APRIL 20, 2010                         *
                                              *      MAGISTRATE SHUSHAN
                                              *
THIS DOCUMENT APPLIES TO:                     *      JURY TRIAL DEMANDED
Case No. 12-311                               *
                                              *


                                         ORDER

              Considering the foregoing Motion To Withdraw Counsel;

              IT IS HEREBY ORDERED that the Motion is granted and Paul R. Koepff and

the law firm of Clyde & Company are hereby withdrawn as counsel for Defendant Liberty

Insurance Underwriters in the above-numbered and titled action.

              New Orleans, Louisiana, this _____ day of June, 2012.



                                                   ____________________________________
                                                     UNITED STATES DISTRICT JUDGE




                                                                                 763492_1
